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              F<yuttri^   ndcuiT Cc^tir             7Uf c^treo s-n^rf^
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              AjF)Ca/\fO^{0 r)/\/(SiO/\J                         1 ■       ^ MAii'^nM " - Z~l
                                                                                         1 1
                                                                          htB 14m
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             '^FTiT\owF(l                ^                                                (
                                                            |-2C"-Q2L-n3'"/
  V                                      ^


 \A^\Teip       cf i\tAe^\cA             )
            9^'^S90NOeNT                 ^ ycrrJ, CLiP^UOf A1.




 v-iG- PBTniv'^e(z tB'i?£'^Fmi.^ 'Rea^B^'isThte oc^'ntui^ity jyzom n-iis coueT
 To f\00{LeS$ TUT &ovtf1l!o/A^(vT'i ReSpc^iB To TUB 2ZSS" PFTinofo
 SuQrAirreio m TUB coutiT on At^Oif-sv zr, 2oi,2,

 TUT Pbt!ric'^e/Z U4c> A coP<^ cf TUB T^y„etZMn^efA's PBiPcN&i Jh juf
 VISS PeTinoN foB or^LY SsoeeAo            /aj ATLAiOTA , iiBofi&tA BBFoCPF "
 UAoitcc, TO PuBBBNQPd TUB RBiPcNsE. BecAc-^SB ThB PBTlTiu/eB tuAs
 TtP-PrOiPcBfBT' To ANhTUO/Z OCTB-VTO"^ FACio/TY.So TUB fBilTicNeiZ.
  ^of?c t^T UAuB TUB Ba-yBflNCfiBAn's %OPoki<>£ Mod TUB AG/L/Ty TO
  AOO\'LB'>'> TUd aovBBNr^BM's BBSp^nSF.

 TUB pBTirte/Ngd QioBiAlt A ^eauBST ON OBCB^SeP. iT 'Zc-2 Z
  USP gift ^PNoy To THF U-i. /\rro(ZN£v'^ ifFicB Aowm fo(i A
  CofU B? TUr GcNgfiNMBioTi HtSipcNSt TP Bb SBArf jo TUB APT /to
  frodBNCB ,Lp^0(1 A 00 boUBRB TUB PBTIVonB/Z A//JS Z/^Bto (UBUP
 Bwctr 12. TAnua/Lo .To-t3.

 pfityAA /iAfAAolZy      TUB p^TfT/c/oBB. HpSPBcrFUr A^/r To P/lB^ffOT'
 TViB FoLlMu-itorA PoiNTi, IT iS NOT TUB (iBGUBTiBP /\of)fltiS To
 IUB Gc/oBawtABNT^'^ fB5PoNSB $UT iS A pF(^o.vmT/t/A/ OF ThB
 UjibAUnBSP' OF TUB GaoBBAtBUT'OT^S (ZespdN^i^ TO TU/S SrOZSG PBTiT/^'n,




                          PAStB ± OB           T,
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     'IW Fi/tsr JFir^T H             -TUf               Cct^Vif^iAB^ Jo Snotk
      {/SiJerlli^(vc€ OF tneuTPiL. lu.Ne<,*> AMP /(^fSeNi/triTy To Tko^E BkfiFErzttv^,
      f^efA lASt^AL HJ-MESS, A VbFSVN CAN %S Ol£(SlUTfiT£0 8k MFn/TAi.
      fUCMESi AmO SuRty/g PSkCkoSt') Ar^ 9B(us)or^^ Urk/LST APPeAr(2-it^A
      ff f\A.NcrwNAP M C>TH€IZ ^ei-iE(2eS &F UFE                    As. cA/ZBEfZ.
      0P~ $ciC(At~ lf^T&2.AcTlt/MS.

      TAB Secof^p PclfjT IS ThAT fkf FcurSflMAAtn^T PePefiTEOL-k c/re^
      DP. Ct-(A€NFk'S ASS£SSM\FFT u/UiCk m&F p/ZFinc^5^y ASkEV
      CoaCT To OK0F(jAPP At SF/^^c(IoF.
•




      THF TFillo Point         TTAT TMp CicMef-ivMS(Mr ciTPS               TF/AT
      6kt/ui J U/As ^uFF£0(nF fFP-SeCUToP-k OpkliSiof^'i C?A^AnoiA')
      Ff Qeit^U TAMeTEF Sv ll-lSS SucPt As FFieumc TPA^PP&p Fc/Z.
      7S fefilLS, .


     ■iHk 'foi^lk fe-itJi   IS'IHAi pp. LPiAiiMtk "i liygSSaMW CoNui^iLttU
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      AnTI- ^iFpBiSSSlbM uBP\CAT\t>rJ kJ\^lru Ujoulo kAvP HELPEO m£
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      O&iFhSF'


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  JAcyiPPS op. THf iMPoPMfiTffv X PAP Icuc-wlEOAE c^, HeuOePiiyO TUtP
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